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                                                                            2016 Mar-16 AM 09:57
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION

IBRAHIM SABBAH,                     )
Individually; and                   )
SABBAH BROTHERS                     )
ENTERPRISES, INC. d/b/a             )
14TH STREET BP                      )
                                    )
      Plaintiffs,                   )      CIVIL ACTION FILE NO.
                                    )      2:15-cv-01772-WMA
v.                                  )
                                    )
NATIONWIDE MUTUAL                   )
INSURANCE COMPANY,                  )
a corporation; NATIONWIDE           )
MUTUAL FIRE INSURANCE               )
COMPANY, a corporation;             )
                                    )
      Defendants.                   )

     DEFENDANTS’ SURREPLY IN OPPOSITION TO PLAINTIFFS’
       MOTION TO FILE A SECOND AMENDED COMPLAINT

      Nationwide Mutual Insurance Company (“Nationwide Mutual”) and

Nationwide Mutual Fire Insurance Company (“Nationwide Fire”) file this Surreply

Brief in Opposition to Plaintiffs’ Motion to File a Second Amended Complaint.

(Doc. 23.)

                     FACTS AND PROCEDURAL HISTORY
                    RELEVANT TO THIS SURREPLY BRIEF

      On December 22, 2015, this Court noted that Plaintiffs’ initial complaint

conflated the two insurers by calling them both “NMIC” despite separate policies
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having been issued by the two named defendants. (Doc. 16, p. 2.) Plaintiffs were

thus ordered to amend the complaint by January 8, 2016, “to make clear what

plaintiffs are complaining about as to each defendant.” (Id., Doc. 17.) In response

to the Court’s order, Plaintiffs’ filed their “First Amended Complaint” on January

8, 2016, making plain that their claims are premised on coverage owed under a

liquor liability policy issued by Nationwide Fire, and not on the general liability

policy issued by Nationwide Mutual. (Doc. 18, ¶ 7.) As Plaintiffs explained in a

footnote to that allegation

              A copy of the [Nationwide Fire] Policy was attached to
              the original complaint (doc. 1) as Exhibit A (doc. 1-1)
              along with the separate businessowners policy [issued by
              Nationwide Mutual]. For sake of clarity, Plaintiffs
              reattach only the [Nationwide Fire] Policy as an exhibit
              to this First Amended Complaint.
(Id., fn. 2.) Instead, Plaintiffs’ claims against Nationwide Mutual are that it acted

“on behalf of or as alter-ego” of Nationwide Fire. (Doc. 18, ¶¶ 51-58; 63-67; and

79-90.)     Defendants moved to dismiss the First Amended Complaint on several

bases, including the absence of factual or legal support for the “alter-ego” claim

against Nationwide Mutual, and that motion is pending before the Court. (Doc. 19.)

      Two days after the briefing was complete on Defendants’ motion to dismiss,

Plaintiffs then filed the instant motion for leave to file a Second Amended

Complaint. (Docs. 22 and 23.) In their motion, Plaintiffs now seek to add claims

under the general policy issued by Nationwide Mutual – claims that they had

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expressly disavowed in their First Amended Complaint. (Compare Doc. 18 ¶ 7, fn.

2 with Doc. 23-1, ¶¶ 7, 11, 24, 27.) In opposing Plaintiffs’ motion,           Defendants

noted that Plaintiffs did not state “failure to settle” claims for relief against

Nationwide Mutual because the demand for payment of limits was made against the

liquor liability issued by Nationwide Fire, and not the general liability policy issued

by Nationwide Mutual. (Doc. 26, pp. 14-17.) Because Plaintiffs’ facts did not

support recovery against Nationwide Mutual, Defendants argued that the claims

against Nationwide Mutual must be dismissed under Rule 12(b)(6). (Id.)

       In their reply brief, Plaintiffs implicitly concede that their proposed Second

Amended Complaint does not contain facts supporting their claims against

Nationwide Mutual, by attaching instead three letters that they contend show that the

limits of the policy were demanded. (Doc. 29-2.) None of these letters, however,

mentions the Nationwide Mutual policy. Instead, the first letter states that the

claimants’ counsel “will recommend a settlement to our clients for the policy limits

of all defendants’ coverage” (Doc. 29-2, pp. 1-3); the second letter make a limits

demand on policies issued to parties other than Plaintiffs herein1 (Id., pp. 5-6); and

in the third letter, another claimants’ counsel states: “I will be demanding policy

limits…” (Id., p. 8.)



1
 The parties are: Brittany Caffee, 97 Package Story Entity, and 14th Street BP Entities. (Doc.
29-2, p. 2.)
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      For the reasons provided below, the Court should disregard the letters as

inappropriately presented for the first time in a reply brief. Alternatively, the letters

do not support a claim for relief against Nationwide Mutual.

               ARGUMENT AND CITATIONS TO AUTHORITY

      “It is well established that the raising of new issues and submission of new

facts in reply brief is improper." Fisher v. Ciba Specialty Chemicals Corp., 238

F.R.D. 273, 311 n. 82 (S.D. Ala. 2006). “The moving party in a motion cannot

submit new information as part of its Reply.”        Id. (quoting Sweet v. Pfizer, 232

F.R.D. 360, 364 n.7 (C.D. Cal. 2005).       Plaintiffs violated this rule by presenting

new information in the context of a reply brief. Nor can Plaintiffs provide a

reasonable explanation for their failure to present this information sooner, having not

only filed their complaint and amendment to that complaint, but also having

responded at this point two motions to dismiss as well as an opposition to amending

the complaint yet another time.

      The Court should not countenance Plaintiffs’ conduct of continually tossing

out different facts or theories of recovery in the hopes of finding a claim upon which

relief can be granted. Accordingly, the Court should strike the exhibits attached to

the reply brief as well as the legal argument pertaining thereto, in resolving

Plaintiffs’ motion for leave to file a second amended complaint.




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       Should the Court allow Plaintiffs to rely on facts asserted for the first time in a

reply brief to the motion to dismiss, it should find nevertheless that the letters do not

rescue Plaintiffs’ claim against Nationwide Mutual. As stated in the facts section

above, in the first letter, claimant’s counsel says that plans to “recommend” that his

clients demand payment of limits of policies that are not even specified in the letter.

Similarly, in the third letter, claimant’s counsel states that he plans to make a

demand for payment of limits of unspecified policies in the future. Neither of these

letters is a demand for payment, let alone a specific amount allegedly covered by the

Nationwide Mutual policy. In the remaining letter, the attorney makes a demand for

payment of the limits of three policies, none of which were issued to Plaintiffs in this

lawsuit let alone by Nationwide Mutual.2

       Under Alabama law, “an insurance company may be held liable for failing to

accept a reasonable demand within the insured’s policy limits under either a theory

of negligence, or bad faith, or both.” MetLife Auto & Home Ins. Co. v. Reid, 2013

WL 6844109, *7, n. 64 (N.D. Ala. 2013) (citing Waters v. Am. Cas. Co. of




2
 As stated, the parties are: Brittany Caffee, 97 Package Story Entity, and 14th Street BP Entities.
(Doc. 29-2, p. 2.) The demand does not reference Plaintiffs, let alone the Nationwide Mutual
policy, plus it was made in August 2007 based on dram shop liability. Plaintiffs were not liable
for the dram shop claims, but instead were found liable at a separate trial from the dram shop
claims, on “equitable veil-piercing and/or alter-ego grounds,” according to Plaintiffs proposed
Second Amended Complaint. (Doc. 23-1. ¶¶ 15, 34(e), 35 and 37.)

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Reading, Pa., 73 So. 2d 524, 531-32 (Ala. 1953).3 Absent a “demand,” let alone a

“reasonable” one within policy limits, no claim for relief can be stated under

Alabama law. Accordingly, even if the Court were to consider the letters that were

presented for the first time as an attached to the reply brief, they do not lend factual

support for the claims against Nationwide Mutual. Based on the Twombly/Iqbal

line of cases, therefore the claims against Nationwide Mutual should be dismissed

as lacking plausible support as thus the amendment would be futile. See Speaker

v. U.S. Dep’t. of Health and Human Svcs., 623 F.3d 1371, 1380 (11th Cir. 2010)

(quoting Bell Atlantic Corp v. Twombly, 550 U.S. 544, 570 (2007) (finding a

complaint must state facts sufficient “to state a claim to relief that is plausible on

its face.”)

       WHEREFORE, Plaintiffs’ Motion to File a Second Amended Complaint

should be denied.




3
  In their reply brief, Plaintiffs state their disagreement with Judge Smith’s statement of the law
in MetLife that a demand for the limits is a prerequisite to a claim against the insurer for failure
to settle. (Doc. 29, pp. 7-8.) Plaintiffs have no legal support for this contention, as they rely on
an unchallenged jury instruction cited in the Carrier Express case from 1994, which is neither
precedential nor legal authority on the issue. Moreover, Carrier Express discussed bad faith in
the context of the alleged breach of the enhanced duty of good faith and fair dealing in a
reservation of rights defense. Here, Plaintiffs’ claims are premised on Nationwide Fire’s offer to
provide a “courtesy defense” as opposed to Nationwide Mutual. (Doc. 23-1, pp. 247 and 258-60;
Doc. 18-5, p. 6; Doc. 18-7, pp. 8-10); see also Doc., 26, pp. 9-12 (Defendant’s brief explaining
the applicable law.)




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                                  Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of DEFENDANTS’

SURREPLY BRIEF IN OPPOSITION TO PLAINTIFFS’ MOTION FOR

LEAVE TO FILE A SECOND AMENDED COMPLAINT has been filed with

the Clerk of Court using the CM/ECF system which will automatically send

electronic mail notification of such filing to counsel of record who are CM/ECF

participants as follows:

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      This 16th day of March, 2016.

                                      /s/ Philip W. Savrin
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